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To:
Honorable John G. Koeltl
Daniel Patrick Moynihan
United States Courthouse,
Courtroom 14A
500 Pearl St.
New York, NY 10007-1312



February 24th, 2025



Dear Honorable Judge Koeltl,

I hope you are well.

In this letter, I offer a personal perspective on my friend, Alex Mashinsky.
I have been a friend of Alex Mashinsky for about 30 years. I am a widow of HS, who was killed
in the 9/11 terror attack in 2001. At that time, our children were 5 and 3 years old.

HS and I lived in the same apartment building as Alex in Manhattan. I believe it is relevant to
share the memorable way we met Alex in 1993. A couple of months after moving to New York
from Israel, we took the elevator down and found a young man already inside. When we
reached the street level after thirty-three floors and began to walk away from the building, the
young man approached us and said, “I am also an Israeli.” We had a brief conversation,
exchanging details about ourselves.

I clearly remember that we were surprised by Alex’s description of what he did at the time.
He said, “I am a provider of services and solutions in the communication sector, you know, like
AT&T.” We both laughed at the comparison, but then the serious and respectable young man
added, “I am the CEO, the secretary, the courier—you name it, I do it all. I only have my sister
Lola, who lives and works with me.” We concluded the conversation by agreeing to schedule a
meeting.

Thus began a wonderful friendship. We celebrated the holidays together, enjoyed Shabbat
dinners, and had brunches on Sundays at a favorite nearby restaurant. Alex had a girlfriend and
eventually got married, and we would go out together—sharing the excitement of our personal
lives as well as our career paths: Alex with his patents and initiatives, and HS with his
managerial skills as he became the CEO of a major American company and traveled the world.

In the last year of his life, which was tragically cut short, HS and Alex even worked together.

I moved to Israel in 2003, but Alex and I kept in touch, either by calling each other or by meeting
when my children and I traveled to New York or when Alex and his family visited Israel.




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The news about Alex being involved in such serious implications was a shock to me.

In spite of my shock, I realized that only someone who takes action is prone to making
mistakes. Alex has taken risks throughout his life, propelled by a strong ambition and will to
make the world a better place. His motto was, “The only risk is not taking a risk.” Alex
accomplished many great things in his life.

When I spoke with Alex on the telephone, he said, “I wanted to do what was best for everybody;
needless to say, I did not want to hurt anyone.” I believe him.

The Alex I know is a pleasant person with a warm smile and genuine kindness; he is a modest
and considerate man. At the core of his life, he prioritizes being a family man and a friend first,
and then he is a dreamer, a risk-taker, and a hardworking achiever. Alex always remembered
where he came from and spoke about it sincerely with us. Rather than complaining about his
complicated childhood, he softened his memories with laughter, especially when describing
hardships such as providing lunches for his family as a teenager over an extended period.

Alex, as I know him, is a down-to-earth person who connects with others through patience,
compassion, sensitivity, and sincerity. I believe that these qualities are at the core of Alex’s
values and are the source of everything he has accomplished in his life, leading him to many
successful endeavors.

Although Alex is capable and intelligent, I believe he has made mistakes that hurt both others
and himself. These mistakes might have been caused by miscalculations, being surrounded by
the wrong people, or simply bad timing—I truly do not know. However, if it matters, I believe that
Alex’s heart and mind have always aimed to do good rather than evil, because he is simply not
that kind of man.

We are all human beings; we all make mistakes. What is most important is to acknowledge our
mistakes, learn from them, and work to correct them.

To conclude my letter: first, I wish for healing and improvement for all those who were hurt by
Alex’s company. Finally, I hope you will read my letter with an open heart and extend
compassion towards Alex Mashinsky, who has so much to contribute to society if given the
chance.



Respectfully,


SAS




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